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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS


IN RE: WILLIAM D. KAVEY                                    BK No.17-10026
       CAROLE J. KAVEY
       Debtor(s).                                          Chapter 7



                             JOINT MOTION TO CONTINUE HEARING

NOW COME FV-I, Inc. in trust for Morgan Stanley Mortgage Capital Holdings LLC (“Movant”) and the
debtors William and Carol Kavey (“Debtors”) and jointly request that the Court continue the hearing on
the motion of Movant for Motion for Relief from Stay currently scheduled for hearing on February 6,
2018. The parties request that this matter be continued for 30 days or a date convenient to the Court.

As grounds, the parties indicate that counsel for the debtor will be out of state.


                                                           /s/ Joseph Dolben, Esq
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                                                           Respectfully submitted,
                                                           William D. Kavey
                                                           Carole, J. Kavey
                                                           By attorney,
                                                           Respectfully submitted,

                                                           /s/ Russell Raskin, Esq.
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Dated: February 5, 2018
